Case 1:02-cV-01204-.]DB-tmp Document 51 Filed 07/01/05 Page 1 of 4 Page|D 66

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
JERRALE MARTIN, )
Plaintiff §
v. § No. 1:02-1204 Bre-P
CORRECTIONS CORPORATION §
OF AMERICA, et al., )
Defendants §

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Det`endants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND ])ECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.

This docurrent entered on the docket sheet in compliance
with same 53 and:or_?s (a) FRCP on § 1 fig

Case 1:02-cV-01204-.]DB-tmp Document 51 Filed 07/01/05 Page 2 of 4 Page|D 67

“’ (L~Qa
Dated:this / dayo 6 ,2005.

l

 

J. I)ANIEL BREEN \
UN TE sTATEs DIsTRICT JUDGE

APPROVED FOR ENTRY:

 

JAMES I. PENTECOST A. R TC IE, II
BRANDON O. GIBSON ROBERT W. RITCHIE
PENTECOST, GLENN & RUDD, PLLC RITCHIE, FELS & DILLARD
106 Stonebridge Blvd. P.O. Box 1126

Jackson, Tennessee 38305 Knoxville, Tennessee 37901-1126
ROBERT J. WALKER W. GASTON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC
JOSEPH WELBORN 1722 Main Street, Suite 300

WALKER, BRYANT, TIPPS & MALONE Columbia, South Carolina 2920]
2300 One Nashville Place

l50 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

Case 1:02-cV-01204-.]DB-tmp Document 51 Filed 07/01/05 Page 3 of 4 Page|D 68

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on June ZL, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: L%/M/J}? €MO-/

J ames l. Pentecost (#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 1:02-CV-01204 was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

Robert .l. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

.l. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

.loseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

.l ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable .l. Breen
US DISTRICT COURT

